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  8                             UNITED STATES BANKRUPTCY COURT
  9                             NORTHERN DISTRICT OF CALIFORNIA
 10                                     SAN FRANCISCO DIVISION
 11

 12   In re:                                            Bankruptcy Case
                                                        No. 20-30242 (HLB)
 13   ANTHONY SCOTT LEVANDOWSKI,
                                                        Chapter 11
 14
                                     Debtor.
                                                        STIPULATION EXTENDING
 15
                                                        DEADLINE FOR OBJECTIONS TO
 16                                                     DISCHARGE AND TO CLAIMS OF
                                                        EXEMPTION
 17

 18

 19            This stipulation and agreement for order (“Stipulation”) is entered into by Anthony Scott
 20   Levandowski (the “Debtor”), as debtor and debtor in possession in the above-captioned chapter
 21   11 case (the “Chapter 11 Case”), Google LLC (“Google”) and Uber Technologies, Inc. (“Uber”).
 22   The Debtor, Google and Uber hereby stipulate and agree as follows:
 23                                              RECITALS
 24            A.     On March 4, 2020, the Debtor filed a voluntary petition for relief under chapter 11
 25   of title 11 of the United States Code (the “Bankruptcy Code”) with the United States Bankruptcy
 26   Court for the Northern District of California (San Francisco Division) (the “Bankruptcy Court”).
 27            B.     The meeting of creditors in the Chapter 11 Case occurred on April 7, 2020 and
 28   concluded on May 15, 2020.

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  1          C.       On June 3, 2020, the Court approved a stipulation among the Debtor, Google and
  2   Uber and ordered that the time for Google, Uber and the Office of the United States Trustee for
  3   the Northern District of California (the “U.S. Trustee”) to file complaints, objections or motions,
  4   as the case may be, to challenge or otherwise object to the Debtor’s claims of discharge and
  5   exemption be extended to the date that is 30 days following the completion of a mediation
  6   among the Debtor, Google and Uber Technologies, Inc. See Dkt. No. 109. That mediation
  7   concluded on July 9, 2020.
  8          D.       On July 16, 2020, the Debtor initiated an adversary proceeding against Uber,
  9   Levandowski v. Uber Technologies, Inc. (N.D. Cal. Bankr. Case No. 20-03050) (the “Adversary
 10   Proceeding”).
 11          E.       On July 31, 2020, the court approved a stipulation among the Debtor, Google and
 12   Uber and ordered that the time for Google, Uber, and the U.S. Trustee to file complaints,
 13   objections or motions, as the case may be, to challenge or otherwise object to the Debtor’s claims
 14   of discharge and exemption be extended to January 29, 2021. See Dkt. No. 183.
 15          F.       On November 2, 2020, the Court issued a trial scheduling order in the Adversary
 16   Proceeding scheduling trial to commence on April 26, 2021 to resolve certain claims in that
 17   proceeding. Case No. 20-03050, Dkt. No. 81.
 18          G.       The Debtor, Google and Uber have agreed that the time for Google, Uber and the
 19   U.S. Trustee to file complaints, objections or motions, as the case may be, to challenge and
 20   object to the Debtor’s claims of discharge and exemption be further extended.
 21        NOW, THEREFORE, UPON THE FOREGOING RECITALS, WHICH ARE
      INCORPORATED AS THOUGH FULLY SET FORTH HEREIN, IT HEREBY IS
 22   STIPULATED AND AGREED, BY AND BETWEEN THE DEBTOR, GOOGLE AND
      UBER, THROUGH THE UNDERSIGNED, AND THE PARTIES JOINTLY REQUEST
 23   THE COURT TO ORDER, THAT:

 24          1.       The time for Google, Uber and the U.S. Trustee to file complaints, objections or
 25   motions, as the case may be, to challenge or otherwise object to (a) the discharge of a particular
 26   debt of the Debtor’s under section 523 of the Bankruptcy Code or (b) any claim of exemption
 27   made by or on behalf of the Debtor and otherwise allowable under section 522(l) of the
 28   Bankruptcy Code is extended to the later of June 30, 2021 or 60 days following entry of a

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  1   judgment or other form of resolution of the matters set for trial in the Trial Scheduling Order,
  2   Case No. 20-03050, Dkt. No. 81, in the Adversary Proceeding.
  3          2.      The due date for any objection to the Debtor’s discharge under sections 1141 or
  4   727(a) of the Bankruptcy Code shall be the latest of June 30, 2021, the deadline set forth in
  5   Bankruptcy Rule 4004 and section 1141 of the Bankruptcy Code, or 60 days following entry of a
  6   judgment or other form of resolution of the matters set for trial in the Trial Scheduling Order,
  7   Case No. 20-03050, Dkt. No. 81, in the Adversary Proceeding.
  8
             3.      Nothing in this Stipulation prohibits Google, Uber or the U.S. Trustee from filing
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      any complaints, objections or motions with respect to dischargeability or exemptions earlier than
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      that extended due date set forth above.
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             4.      Nothing in this Stipulation shall be construed to prohibit Google or Uber from
 12
      pursuing any main case discovery through Rule 2004. The parties’ rights to such discovery are
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      preserved.
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             5.      This Stipulation shall constitute the entire agreement and understanding of the
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      parties relating to the subject matter hereof and shall supersede all prior agreements and
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      understandings relating to the subject matter hereof.
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             6.      The Bankruptcy Court shall retain jurisdiction to resolve any disputes or
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      controversies arising from this Stipulation.
 19

 20   Dated: January 06, 2021                                 KELLER BENVENUTTI KIM LLP
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                                              4
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